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Navient Solutions, LLC
220 Lasley Avenue
Hanover Industrial Estates
Wilkes-Barre, PA 18706


3/31/2019

RE: Case No 19-50625
     JANIS ALLEN


Bankruptcy Court Clerk: Please see change of address.

Payment Address Changed From:

       Navient Solutions, LLC on behalf of
       Department of Education Loan Services
       PO BOX 740351
       Atlanta, GA 30374-0351

Payment Address Changed To:

       Navient Solutions, LLC
       U.S. Department of Education Loan Servicing
       PO Box 4450
       Portland, OR 97208-4450



Sincerely,




/s/ Beth Dries
Bankruptcy Analyst
